       Case 1:17-cv-00161-JRH-BKE Document 9 Filed 01/04/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

DANIEL W. TAYLOR,                               )
                                                )
              Plaintiff,                        )
                                                )
       v.                                       )         CV 117-161
                                                )
                                                )
CARLOTTA FICKLIN; FPL FOODS, LLC;               )
DEPARTMENT OF CORRECTIONS;                      )
STATE OF GEORGIA; and WARDEN                    )
WILKES,                                         )
                                                )
              Defendants.                       )


            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


       On October 25, 2017, Plaintiff, an inmate at Augusta State Medical Prison in

Grovetown, Georgia, submitted a complaint to the Clerk of Court in the Northern District of

Georgia without submitting the appropriate filing fee or a request to proceed in forma

pauperis (“IFP”).    United States District Judge Steve Jones transferred the case to the

Augusta Division of the Southern District of Georgia because all of the events alleged in the

complaint occurred in Augusta, and all Defendants appear to reside here. (Doc. no. 4.)

Upon opening the case in the Southern District, the Clerk sent Plaintiff a deficiency notice on

November 29, 2017, concerning the need for an IFP motion or payment of the filing fee.

(See doc. no. 8.)

       The deficiency notice reflects the requirements of Local Rule 4.1, which explains the

commencement of a civil action requires compliance with four specific criteria, including the
       Case 1:17-cv-00161-JRH-BKE Document 9 Filed 01/04/18 Page 2 of 3



presentation of the original complaint and the appropriate filing fee, or the original complaint

and a petition to proceed IFP. If a party fails to satisfy these criteria, “the Clerk shall mark

the complaint as to the date filed and promptly give notice of the omission to the filing party.

Failure to comply within twenty-one (21) calendar days of the date that notice is served by

the Clerk may result in dismissal by the Court.”         Loc. R. 4.1(1); see also doc. no. 8

(explaining that failure to cure the filing deficiency within twenty-one days could result in

dismissal of his case). Plaintiff has not responded to the Clerk’s notice.

       A district court has authority to manage its docket to expeditiously resolve cases, and

this authority includes the power to dismiss a case for failure to prosecute or failure to

comply with a court order. Equity Lifestyle Props., Inc. v. Fla. Mowing & Landscape Serv.,

Inc., 556 F.3d 1232, 1240 (11th Cir. 2009) (citing Fed. R. Civ. P. 41(b)); see also Eades v.

Ala. Dep’t of Human Res., 298 F. App’x 862, 863 (11th Cir. 2008) (“District courts possess

the ability to dismiss a case . . . for want of prosecution based on two possible sources of

authority: Fed. R. Civ. P. 41(b) or their inherent authority to manage their dockets.”).

Moreover, the Local Rules of the Southern District of Georgia dictate that an “assigned

Judge may, after notice to counsel of record, sua sponte . . . dismiss any action for want of

prosecution, with or without prejudice . . . [for] [w]illful disobedience or neglect of any order

of the Court; or [a]ny other failure to prosecute a civil action with reasonable promptness.”

Loc. R. 41.1(c).

       Plaintiff failed to comply with the requirements for commencing a civil action by

submitting an appropriate filing fee or motion to proceed IFP with his complaint, and when

given the opportunity to submit the appropriate paperwork, he failed to respond. Plaintiff’s

failure to comply with the filing requirements of the Local Rules and his failure to respond to


                                               2
      Case 1:17-cv-00161-JRH-BKE Document 9 Filed 01/04/18 Page 3 of 3



the Clerk’s deficiency notice amounts not only to a failure to prosecute, but also an

abandonment of his case. Accordingly, the Court REPORTS and RECOMMENDS that

this case be DISMISSED without prejudice and that this civil action be CLOSED.

      SO REPORTED and RECOMMENDED this 4th day of January, 2018, at Augusta,

Georgia.




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